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                                                                                                              10                        UNITED STATES DISTRICT COURT
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                                                                                                              11           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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                                                                                                                   HONG LIU,                                  Case No. 2:20-cv-08035-SVW-JPR
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                                                                                                              13                   Plaintiff,                 DISCOVERY MATTER
                                                                                                              14           v.                                 The Honorable Jean P. Rosenbluth
                                                                                                              15   FARADAY&FUTURE INC.,                       FARADAY & FUTURE INC. AND
                                                                                                              16   SMART KING LTD., JIAWEI                    SMART KING LTD.’S
                                                                                                                   WANG, and CHAOYING DENG,                   SUPPLEMENTAL BRIEF IN
                                                                                                              17                                              SUPPORT OF MODIFYING APRIL
                                                                                                                                   Defendants.                26, 2021 ORDER RE: PRIVILEGE
                                                                                                              18                                              ISSUES IN LIGHT OF THEIR
                                                                                                                                                              (1) DISMISSAL OF THE FIFTH
                                                                                                              19                                              AND SIXTH COUNTERCLAIMS;
                                                                                                                                                              AND (2) PROPOSED DISMISSAL
                                                                                                              20                                              AND AMENDMENT OF CERTAIN
                                                                                                                                                              AFFIRMATIVE DEFENSES
                                                                                                              21                                              [Filed concurrently with [Proposed]
                                                                                                              22                                              Order]

                                                                                                              23                                              Date:    April 29, 2021
                                                                                                                                                              Time:    2:30 p.m.
                                                                                                              24                                              Place:   Courtroom 690

                                                                                                              25 AND RELATED COUNTERCLAIM.
                                                                                                              26
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                                                                                                              1             Defendant Smart King Ltd. (“Smart King”) and Defendant and
                                                                                                              2    Counterclaimant       Faraday&Future       Inc.    (“Faraday”)     (collectively,   “FF”),
                                                                                                              3    respectfully submit the following Supplemental Brief in support of their request that
                                                                                                              4    the Court modify its April 26, 2021 Order regarding the alleged waiver and
                                                                                                              5    production of FF’s privileged information in this action (the “April 26 Order”):
                                                                                                              6    I.       INTRODUCTION
                                                                                                              7             A “retaliatory discharge claim” asserted by in-house counsel “may not
                                                                                                              8    proceed” and “must be dismissed” if it is “incapable of complete resolution without
                                                                                                              9    breaching the attorney-client privilege.” General Dynamics Corp. v. Super. Ct., 7
                                                                                                              10   Cal. 4th 1164, 1170, 1190 (1994). In patent violation of that fundamental precept,
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                                                                                                              11   Plaintiff and Counterdefendant Hong Liu’s (“Liu”) Complaint’s Fourth Cause of
                                                                                                              12   Action for Wrongful Termination is exclusively premised on the allegation that FF
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                                                                                                              13   terminated Liu in retaliation for his reporting “compliance issues and violations of
                                                                                                              14   law” to FF management in his capacity as Faraday’s Global General Counsel (the
                                                                                                              15   “Alleged Compliance and Legal Issues”), thereby placing those privileged
                                                                                                              16   communications (as well as FF’s other privileged information concerning the
                                                                                                              17   Alleged Compliance and Legal Issues) at the heart of Liu’s discharge claim.1
                                                                                                              18            In a transparent attempt to avoid the legally required dismissal of his prohibited
                                                                                                              19   wrongful termination claim sought in FF’s pending summary judgment motion
                                                                                                              20   (“MSJ”),2 Liu now contends that FF cannot defend itself against that claim based on
                                                                                                              21   1
                                                                                                                     See Dkt. No. 1-1 [Compl.] at ¶ 5 (alleging Liu was “stripped of his authority and
                                                                                                                   then terminated” because he “proactively took steps to ensure Faraday’s compliance
                                                                                                              22   with applicable law, including by seeking [internal] investigations”); ¶ 63 (admitting
                                                                                                                   Liu had responsibility for “overseeing a wide range of sensitive regulatory and
                                                                                                              23   compliance matters” as in-house counsel); ¶ 69 (alleging Liu “repeatedly advised”
                                                                                                                   FF to cease “illegal, discriminatory” behavior and “worked with and directed
                                                                                                              24   Faraday’s legal department” in that regard); ¶ 71 (alleging Liu directed the FF “legal
                                                                                                                   department” to “investigate complaints”); ¶ 75 (alleging Liu “actively instructed the
                                                                                                              25   legal department to issue memoranda and other communications” regarding FF’s
                                                                                                                   legal compliance); ¶ 83 (quoting Liu’s letter to management accusing FF of
                                                                                                              26   retaliating against him for “directly express[ing] [his] views . . . on how to best
                                                                                                                   comply with laws”); ¶¶ 132-133 (alleging Liu was terminated in retaliation for
                                                                                                              27   reporting “serious compliance issues and violations of law”).
                                                                                                                   2
                                                                                                              28     See Dkt. Nos. 131-1 [MSJ].
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                                                                                                              1    any aspect of his job performance without simultaneously effectuating an unlimited,
                                                                                                              2    wholesale waiver of the attorney-client privilege, including as to the Alleged
                                                                                                              3    Compliance and Legal Issues. As detailed below, Liu’s remarkable proposition that
                                                                                                              4    FF is prohibited from even availing itself of the most quintessential wrongful
                                                                                                              5    termination defense—a non-retaliatory reason for discharge3—absent the waiver and
                                                                                                              6    disclosure of all of its privileged information, cannot withstand legal or factual
                                                                                                              7    scrutiny. That is particularly true where:
                                                                                                              8             1.      Faraday stipulated to the dismissal of the Fifth and Sixth Counterclaims
                                                                                                              9    alleged in its Second Amended Counterclaim (“SACC”)4 in response to the Court’s
                                                                                                              10   stated concerns at the April 26 hearing that those claims could be read as broadly
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                                                                                                              11   implicating Liu’s entire job performance (the “Job Performance Counterclaims”),
                                                                                                              12   rather than just the enumerated matters specified in Paragraphs 55-59, 61, 65-66, and
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                                                                                                                   69-70 of the SACC;5 and where
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                                                                                                              13
                                                                                                              14            2.      FF further is prepared to stipulate to the dismissal and amendment of
                                                                                                              15   certain Affirmative Defenses, as reflected in Exhibit A attached hereto, in response
                                                                                                              16   to Liu’s completely new contention that those defenses supposedly “put at issue the
                                                                                                              17   entirety of [his] performance while employed by FF,” and allegedly “waive[] the
                                                                                                              18   privilege as to all attorney-client communications concerning [his] employment.”6
                                                                                                              19   Specifically, FF is prepared to:
                                                                                                              20            • Dismiss its respective 7th, 11th, 19th, 21st, and 27th Affirmative Defenses
                                                                                                              21                 for Breach of Fiduciary Duty, Breach by Plaintiff, Equitable Estoppel,
                                                                                                              22   3
                                                                                                                     See, e.g., Loggins v. Kaiser Permanente Int’l, 151 Cal. App. 4th 1102, 1109-1110
                                                                                                              23   (2007) (“When a plaintiff alleges . . . a claim for wrongful termination in violation of
                                                                                                                   public policy . . , the plaintiff must show that” he was terminated for engaging in
                                                                                                              24   protected activity, and “the burden [then] shifts to the employer to provide evidence
                                                                                                                   that there was a legitimate, nonretaliatory reason for the adverse employment
                                                                                                              25   action.” (emphasis added)).
                                                                                                                   4
                                                                                                                     See Dkt. No. 130 [Stipulated Dismissal with Prejudice of Certain Counterclaims].
                                                                                                              26   5
                                                                                                                     Faraday further stipulated to the dismissal of the SACC’s Eighth Counterclaim for
                                                                                                              27   declaratory judgment to the extent it sought declaratory relief based upon the Fifth
                                                                                                                   and Sixth Counterclaims. (Id.)
                                                                                                              28   6
                                                                                                                     See Liu’s Supplemental Memorandum (“Supp. Memo.”) at pp. 3:23-6:2.
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                                                                                                              1                Intervening/Supervening Cause, and Breach of the Implied Covenant of
                                                                                                              2                Good Faith and Fair Dealing, which arguably implicate Liu’s overall
                                                                                                              3                general job performance at FF;
                                                                                                              4             • Strike the portions of its respective 20th and 22nd Affirmative Defenses for
                                                                                                              5                Failure of Condition Precedent and Unclean Hands, objected to by Liu;7
                                                                                                              6
                                                                                                                            • Amend its 5th Affirmative Defense for Reasonable, Good Faith, Non-
                                                                                                              7
                                                                                                                               Discriminatory, and Non-Retaliatory Termination (the “No Retaliation
                                                                                                              8
                                                                                                                               Defense”) to further clarify and confirm that FF only seeks to establish it
                                                                                                              9
                                                                                                                               terminated Liu exclusively for the following non-retaliatory reasons
                                                                                                              10
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                                                                                                                               specifically alleged and enumerated in Paragraphs 55-59, 61 and 65-66, and
                                                                                                              11
                                                                                                                               69-70 of the SACC: Liu’s (i) failure to lead FF to an IPO; (ii) failure to
                                                                                                              12
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                                                                                                                               connect FF with investment banks; (iii) failure to assist FF when its Series
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                                                                                                              13
                                                                                                                               A investor, Evergrande Health Industry Group (“Evergrande”) backed-out
                                                                                                              14
                                                                                                                               of its funding commitment; (iv) failure to provide substantive advice as to
                                                                                                              15
                                                                                                                               the EVelozcity litigation, vendor concerns regarding indemnification, the
                                                                                                              16
                                                                                                                               records of internal FF meetings, and a potential reduction in FF’s
                                                                                                              17
                                                                                                                               workforce; and (v) harassment of FF’s equity incentive program manager
                                                                                                              18
                                                                                                                               and threat to fire FF’s outside legal counsel when it declined to provide him
                                                                                                              19
                                                                                                                               with grants at improper exercise prices (the “Enumerated Failures”); and
                                                                                                              20
                                                                                                                               not for Liu’s failure to satisfactorily perform any of his other job
                                                                                                              21
                                                                                                                               responsibilities at FF; and
                                                                                                              22
                                                                                                                            • Retain each of its other Affirmative Defenses in their current form,
                                                                                                              23
                                                                                                                               consistent with their omission from the list of Affirmative Defenses
                                                                                                              24
                                                                                                                               identified in Liu’s Supplemental Memorandum.8
                                                                                                              25
                                                                                                                   7
                                                                                                              26     See Supp. Memo. at p. 5:3-8 and 15-17.
                                                                                                                   8
                                                                                                                     Although Liu also identifies FF’s 8th Affirmative Defense for Rescission Based on
                                                                                                              27   Breach of Fiduciary Duty as allegedly problematic to the extent it is premised on the
                                                                                                                   same conduct implicated by the No Retaliation Defense, FF’s proposed amendment
                                                                                                              28   to its No Retaliation Defense reconfirming its limited scope eliminates any
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                                                                                                              1            Under these circumstances—and consistent with governing Ninth Circuit law
                                                                                                              2    prohibiting the Court from imposing any waiver of the privilege without first
                                                                                                              3    specifically defining “the contours of the waiver” and “letting [the holder of the
                                                                                                              4    privilege] know how much of the privilege he must waive in order to proceed with
                                                                                                              5    his claim,” Bittaker v. Woodford, 331 F.3d 715, 719-721 (9th Cir. 2003)—FF
                                                                                                              6    respectfully requests that this Court (1) define the scope of any waiver in light of FF’s
                                                                                                              7    dismissal of its Job Performance Counterclaims and its proposed dismissal and
                                                                                                              8    amendment of the above-listed Affirmative Defenses; and correspondingly
                                                                                                              9    (2) modify the April 26 Order to clarify that, if FF dismisses and amends its
                                                                                                              10   Affirmative Defenses as described herein and as reflected in Exhibit A hereto, FF
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                                                                                                              11   will have waived the privilege, and will be required to produce privileged
                                                                                                              12   information, only as to Liu’s Enumerated Failures.
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                                                                                                              13   II.     ARGUMENT
                                                                                                              14           A.    Governing Law Prohibits the Disclosure and Use of FF’s Privileged
                                                                                                              15                 Information Based Upon FF’s No Retaliation Defense
                                                                                                              16           Governing California state and federal court law are clear that the Court cannot
                                                                                                              17   broadly compel the disclosure and authorize Liu’s use of FF’s privileged information
                                                                                                              18   to prosecute the Complaint’s wrongful termination claim solely by virtue of FF’s
                                                                                                              19   interposing a standard No Retaliation Defense based upon Liu’s Enumerated
                                                                                                              20   Failures—all of which are unrelated to the Alleged Compliance and Legal Issues
                                                                                                              21   underlying Liu’s discharge cause of action.
                                                                                                              22           First, as held by the California Supreme Court in General Dynamics, an in-
                                                                                                              23   house counsel’s claim for wrongful termination not only “must be dismissed in the
                                                                                                              24   interest of preserving the privilege” when it “is incapable of complete resolution
                                                                                                              25   without breaching the attorney-client privilege[,]” but also entitles “the defendant
                                                                                                              26   employer . . . to challenge plaintiff’s claim by demonstrating the discharge was
                                                                                                              27
                                                                                                              28   conceivable need to modify FF’s 8th Affirmative Defense.
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                                                                                                              1    motivated by [lawful] reasons[.]” See 7 Cal. 4th at 1170, 1190, 1192 (emphasis
                                                                                                              2    added). Consistent with those holdings, nothing in General Dynamics remotely
                                                                                                              3    suggests, let alone mandates, that an employer broadly waives the attorney-client
                                                                                                              4    privilege simply by availing itself of the core defense in every wrongful termination
                                                                                                              5    case—namely, a non-retaliatory justification for the challenged employment action.
                                                                                                              6    To the contrary, any such rule would eviscerate General Dynamics’ explicit
                                                                                                              7    prohibition against “retaliatory discharge claim[s] . . . [that] unduly endanger[] the
                                                                                                              8    values lying at the heart of the professional [attorney-client] relationship[,]” by
                                                                                                              9    enabling every in-house counsel alleging wrongful termination to force its former
                                                                                                              10   employer to make the Hobson’s choice of either (i) mounting a defense based on
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                                                                                                              11   counsel’s job performance and wholesale waiving the privilege, or (ii) being left
                                                                                                              12   unable to defend itself in order to preserve its privilege. Id. at 1169. As evident from
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                                                                                                              13   its explicit recognition and confirmation of an employer’s ability to “always . . .
                                                                                                              14   challenge [a] plaintiff’s claim by demonstrating” a lawful reason for termination, id.
                                                                                                              15   at 1192, the California Supreme Court clearly did not intend to vest in-house counsel
                                                                                                              16   with this significant strategic advantage unavailable to non-attorney plaintiffs in
                                                                                                              17   retaliatory discharge cases. Id. at 1189 (holding that a “lawyer’s high duty of fidelity
                                                                                                              18   to the interests of the client work against a tort remedy [for wrongful termination]
                                                                                                              19   that is coextensive with[,]” let alone greater than, “th[e] [remedy] available to the
                                                                                                              20   nonattorney employee” (emphasis added)).
                                                                                                              21           Second, courts interpreting and applying General Dynamics further recognize
                                                                                                              22   that dismissal similarly is required when an employer is unable to fairly “mount[] its
                                                                                                              23   defense” to an attorney’s claim without disclosing privileged information. Olivo v.
                                                                                                              24   City of Vernon, No. B213984, 2010 Cal. App. Unpub. LEXIS 6018, at *24, *43 (July
                                                                                                              25   29, 2010) (affirming the dismissal of in-house counsel’s claim that he was wrongfully
                                                                                                              26   terminated for internally disseminating a privileged report concerning “illegal
                                                                                                              27   activity” and “unethical conduct” where “the contents of the [privileged] Report”
                                                                                                              28
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                                                                                                                1   were necessary for “the employer to “mount[] its defense.”); 9 see also Solin v.
                                                                                                                2   O’Melveny & Myers LLP, 89 Cal. App. 4th 451, 454, 457, 466-67 (2001) (affirming
                                                                                                                3   dismissal under General Dynamics where defendant “could not effectively defend”
                                                                                                                4   attorney’s lawsuit without privileged information).
                                                                                                                5            Consistent with that governing law, FF’s MSJ seeks judgment on Liu’s
                                                                                                                6   wrongful termination claim under General Dynamics because the prosecution and
                                                                                                                7   defense of that cause of action indisputably necessitate the public disclosure of FF’s
                                                                                                                8   privileged information concerning the Alleged Compliance and Legal Issues. 10
                                                                                                                9   Separately, however, FF also has pleaded a standard No Retaliation Defense, which
                                                                                                               10   FF did not raise in its MSJ, but nonetheless will be required to pursue in the event
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                                                                                                               11   Liu’s termination claim survives summary judgment. As stated earlier and reflected
                                                                                                               12   in Exhibit A hereto, FF is prepared to amend its No Retaliation Defense to again
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                                                                                                               13   confirm it is exclusively based upon and limited to Liu’s Enumerated Failures.
                                                                                                               14            Under these circumstances, it would turn General Dynamics on its head to
                                                                                                               15   impose a sweeping waiver of the privilege and compel FF to disclose all of its
                                                                                                               16   privileged information—including as to the Alleged Compliance and Legal
                                                                                                               17   Issues—merely because FF has reserved its right to admit evidence showing that Liu
                                                                                                               18   was discharged because of the Enumerated Failures having nothing to do with those
                                                                                                               19   Alleged Legal and Compliance Issues. Indeed, such a ruling would constitute an
                                                                                                               20   impermissible end-around General Dynamics’ express prohibition on the use of
                                                                                                               21   privileged information to prove “the elements of a wrongful discharge claim.” See 7
                                                                                                               22   Cal. 4th at 1189-1190. That is particularly true where General Dynamics further
                                                                                                               23   expressly recognized that, “whether the privilege serves as a bar to the plaintiff’s
                                                                                                               24   recovery will be litigated and determined” at “the time of a motion for summary
                                                                                                               25
                                                                                                                    9
                                                                                                                      The Court may consider and rely on unpublished California decisions. Emplrs Ins.
                                                                                                               26   of Wausau v. Granite State Ins. Co., 330 F.3d 1214, 1220 n.8 (9th Cir. 2003); Wash.
                                                                                                                    v. Cal. City Corr. Ctr., 871 F. Supp. 2d 1010, 1028 (E.D. Cal. 2012).
                                                                                                               27   10
                                                                                                                       See Dkt. No. 131-1 [MSJ] at pp. 7:18-10:17, 19:9-24:21; see also Dkt. No. 1-1
                                                                                                               28   [Compl.] at ¶¶ 5, 63, 69. 71, 75, 83, 132-133.
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                                                                                                                1   judgment,” rather than “at the [pleading] stage[,]” thereby requiring the defendant
                                                                                                                2   employer to assert and pursue affirmative defenses prior to that time. Id. at 1190.
                                                                                                                3           Third, to the extent FF’s No Retaliation Defense conceivably places
                                                                                                                4   privileged information at issue, both California and Ninth Circuit law mandate that
                                                                                                                5   any resulting waiver of the privilege be narrowly limited to the Enumerated Failures
                                                                                                                6   specifically and actually alleged in support of that defense. See Degenshein v. 21st
                                                                                                                7   Century Toys, Inc., A111446, 2007 Cal. App. Unpub. LEXIS 3486, at *16-17 (Apr.
                                                                                                                8   30, 2007) (holding that employer’s assertion of unclean hands defense implicating
                                                                                                                9   in-house counsel’s breach of ethical duties during his employment did not give in-
                                                                                                               10   house counsel “the right to” violate General Dynamics and “use privileged materials
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                                                                                                               11   . . . to prove his [wrongful termination] case in chief.”); see also, e.g., Life Techs.
                                                                                                               12   Corp. v. Super. Court, No. A136187, 2012 Cal. App. Unpub. LEXIS 8313, at *1
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                                                                                                               13   (Nov. 14, 2012) (partially reversing order finding a waiver of the privilege based on
                                                                                                               14   employer’s answer to in-house counsel’s wrongful termination claim that “put
                                                                                                               15   [counsel’s] performance at issue[,]” and holding that any waiver was required to be
                                                                                                               16   “careful[ly] limit[ed]” to “criticisms” of the plaintiff and “to understand[ing] the
                                                                                                               17   supervision and evaluation of [plaintiff’s] performance”); Bittaker, 331 F.3d at 720
                                                                                                               18   (“The court imposing the waiver does not order disclosure of the materials
                                                                                                               19   categorically” and instead only finds a waiver “to the extent necessary to give [a
                                                                                                               20   party] a fair opportunity” to contest the issue); IGT v. All. Gaming Corp., No. 2:04-
                                                                                                               21   cv-1676-RCJ-RJJ, 2007 U.S. Dist. LEXIS 62395, at *7 (D. Nev. Aug. 20, 2007)
                                                                                                               22   (recognizing “the Ninth Circuit construes subject matter waivers narrowly” and
                                                                                                               23   rejecting a waiver that would have entitled an adversary “to an almost unlimited
                                                                                                               24   number of documents” that “touch[] on any subject whatsoever mentioned in the
                                                                                                               25   Complaint”).
                                                                                                               26           Fourth, none of Liu’s proffered authorities remotely support his fallacious
                                                                                                               27   contention that FF has purportedly effectuated a wholesale waiver of the attorney-
                                                                                                               28   client privilege resulting from the assertion of its standard No Retaliation Defense.
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                                                                                                                1   Tellingly, Liu has not cited a single case involving a wrongful termination claim
                                                                                                                2   prosecuted by in-house counsel and governed by General Dynamics, making his
                                                                                                                3   authorities legally and factually inapposite and required to be rejected on their face.11
                                                                                                                4           B.    Governing Law Similarly Prohibits the Disclosure and Use of FF’s
                                                                                                                5                 Privileged Communications with Sidley Austin LLP to Prosecute
                                                                                                                6                 the Complaint’s Breach of Contract Claim
                                                                                                                7           Equally baseless is Liu’s contention that he is entitled to prosecute the
                                                                                                                8   Complaint’s First Cause of Action for Breach of Contract using FF’s privileged
                                                                                                                9   communications with its outside counsel, Sidley Austin LLP (“Sidley”).
                                                                                                               10           First, as manifest on the face of its SACC and MSJ, FF seeks to void its
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                                                                                                               11   employment agreement (“Employment Agreement”) with Liu on the ground that he
                                                                                                               12
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                                                                                                                    11
                                                                                                                       See Supp. Memo. at pp. 2-3, inappositely citing Bittaker, 331 F.3d at 717, 728
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                                                                                                                    (habeas petitioner effectuated a limited waiver of the privilege by asserting
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                                                                                                               13
                                                                                                                    ineffective assistance of counsel; petitioner did not, however, waive the privilege for
                                                                                                               14   all purposes, and the state could not use his privileged materials for any purpose other
                                                                                                                    than opposing habeas relief); Natural-Immunogenics Corp. v. Newport Trial Group,
                                                                                                               15   No. SACV 15-02034 JVS(JCGx), 2018 U.S. Dist. LEXIS 205686, at *3-5, *33-37
                                                                                                                    (C.D. Cal. June 12, 2018) (in action against law firm and its clients accused of
                                                                                                               16   fabricating class action litigation, defendants waived the attorney-client privilege by
                                                                                                                    claiming the firm’s use of “tester” plaintiffs immunized it from liability, thereby
                                                                                                               17   placing the “unique relationship” and communications “between [the firm] and its
                                                                                                                    clients directly at issue”); Apple Inc. v. Samsung Elecs. Co., 306 F.R.D. 234, 241-
                                                                                                               18   242 (N.D. Cal. 2015) (in commercial dispute between competitors, Samsung “placed
                                                                                                                    [privileged] documents at issue, partially disclosed privileged documents, and
                                                                                                               19   distributed privileged documents to unrelated parties” in support of its argument that
                                                                                                                    it should not be sanctioned for violating a protective order); Int’l Rectifier Corp. v.
                                                                                                               20   IXYS Corp., No. CV-00-6756-R, 2002 U.S. Dist. LEXIS 27253, at *2-6, *16 (C.D.
                                                                                                                    Cal. Apr. 1, 2002) (dismissing defendant’s equitable defenses in patent infringement
                                                                                                               21   case where (i) the defenses placed defendant’s knowledge of patent validity at issue,
                                                                                                                    including knowledge obtained by counsel; and (ii) defendants asserted the privilege
                                                                                                               22   to preclude the disclosure of any of that information); Fox v. Cal. Sierra Fin. Servs.,
                                                                                                                    120 F.R.D. 520, 529 (N.D. Cal. 1988) (in lawsuit against law firm and attorneys
                                                                                                               23   accused of fraudulently promoting an illegal investment scheme, attorneys’ blanket
                                                                                                                    assertion of the privilege was improper where “defendants [] raised numerous
                                                                                                               24   affirmative defenses . . , [sought] to avoid revealing the [factual] basis for th[o]se
                                                                                                                    defenses by claiming the attorney-client privilege, and [also] claim[ed] an
                                                                                                               25   unrestricted right to introduce the privileged information in support of the affirmative
                                                                                                                    defenses at trial.”); Fox v. Cnty. of Tulare, No. 1:11-CV-00520-AWI-SMS, 2013
                                                                                                               26   U.S. Dist. LEXIS 139949, at *8-11 (E.D. Cal. Sept. 23, 2013) (finding that county
                                                                                                                    effectuated a limited waiver of the privilege by intentionally disclosing attorney-
                                                                                                               27   client communications relevant to its qualified immunity defense, as well as
                                                                                                                    “conclud[ing] that any waiver should be defined narrowly” because a subject-matter
                                                                                                               28   waiver is not “unlimited”).
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                                                                                                                1   negotiated and procured that contract in violation of his ethical and fiduciary
                                                                                                                2   obligations as FF’s then-outside legal counsel, including the strict requirements under
                                                                                                                3   Cal. Rule of Professional Conduct 3-300, and N.Y. Rule of Professional Conduct 1.8
                                                                                                                4   that he “advise[] [FF] in writing that [FF] may seek the advice of an independent
                                                                                                                5   lawyer of [FF’s] choice” in connection with the Employment Agreement.12 Thus,
                                                                                                                6   contrary to Liu’s baseless argument that FF’s privileged communications with Sidley
                                                                                                                7   are somehow necessary for Liu “to test [FF’s] assertions about Sidley[’s] role,”
                                                                                                                8   (Supp. Memo. at p. 6), the truth is that FF has not pleaded any facts at all about
                                                                                                                9   Sidley or its professed “role” in support of the SACC’s or MSJ’s arguments
                                                                                                               10   concerning the Employment Agreement. Rather, the actual issue raised by those
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                                                                                                               11   pleadings is Liu’s non-compliance with his affirmative duty to advise FF in writing
                                                                                                               12   to seek independent legal counsel in connection with the Employment Agreement,13
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                                                                                                               13   rendering the purported nature, scope and substance FF’s communications with
                                                                                                               14   Sidley simply irrelevant to whether Liu himself complied with his ethical obligations.
                                                                                                               15           Second, and consistent with the factual irrelevance of Sidley’s professed role
                                                                                                               16   vis-à-vis the Employment Agreement, controlling precedent is equally clear that FF’s
                                                                                                               17   privileged communications with Sidley are legally immaterial to, and cannot absolve
                                                                                                               18   Liu from the consequences of, his ethical and fiduciary violations in procuring that
                                                                                                               19   agreement. See, e.g., BGJ Associates v. Wilson, 113 Cal. App. 4th 1217, 1226-1227
                                                                                                               20   (2003) (expressly rejecting the argument that the client’s receipt of advice from
                                                                                                               21   independent counsel relieved an attorney from the consequences of its failure to
                                                                                                               22   comply with Rule 3-300’s written disclosure and consent requirements, and holding
                                                                                                               23   the parties’ agreement was therefore unenforceable by the attorney); Odish v.
                                                                                                               24   Cognitive Code Corp., No. CV 12-9069 FMO (JCGx), 2015 U.S. Dist. LEXIS 68630,
                                                                                                               25   12
                                                                                                                       See Dkt. No. 95 [SACC] at ¶¶ 17-45, 77-91, 93-98; Dkt. No. 131-2 [MSJ] at pp.
                                                                                                                    1:20-2:25, 4:2-7:15, 11:16-19:8.
                                                                                                               26   13
                                                                                                                       See Dkt. No. 131-1 [MSJ] at pp. 1:26-27, 6:12-14, 16:13-17 (arguing Liu
                                                                                                               27   “[f]ail[ed] to advise FF in writing to seek and obtain independent legal counsel in
                                                                                                                    connection with the Employment Agreement”); Dkt. No. 95 [SACC] at ¶¶ 8, 45, 86
                                                                                                               28   (alleging the same)
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                                                                                                                1   at *21, 27-28 (C.D. Cal. May 27, 2015) (recognizing it was indisputable that attorney
                                                                                                                2   “violated Rule 3-300” by failing to advise client in writing to seek the advice of
                                                                                                                3   independent counsel, and recognizing this failure was “sufficient to void” the parties’
                                                                                                                4   contract); ); Held & Hines LLP v. Hussain, No. 16-cv-5273 (JSR)(SN), 2018 U.S.
                                                                                                                5   Dist. LEXIS 129210, at *16-17 (S.D.N.Y. July 31, 2018) (claim that client consulted
                                                                                                                6   independent counsel did not remedy attorney’s failure to comply with its “obligation
                                                                                                                7   to advise [the client] in writing that [it] should consider seeking independent legal
                                                                                                                8   advice before signing the agreement.” (emphasis in original)).
                                                                                                                9           Because FF has not legally or factually placed its privileged communications
                                                                                                               10   with Sidley at issue, the Court cannot compel the disclosure, let alone authorize Liu’s
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                                                                                                               11   use, of those protected materials to prosecute the Complaint’s First Cause of Action.
                                                                                                               12   See Rockwell Int’l. Corp. v. Super. Ct., 26 Cal. App. 4th 1255, 1268 (1994) (“The in
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                                                                                                               13   issue doctrine creates an implied waiver of the privilege only when the client tenders
                                                                                                               14   an issue involving the substance or content of a protected communication, not where
                                                                                                               15   the privileged communication simply represents one of several forms of indirect
                                                                                                               16   evidence in a particular case.” (emphasis in original)); see also Rutgard v. Haynes,
                                                                                                               17   185 F.R.D. 596, 598 (S.D. Cal. 1999) (the privilege is waived only if a party actually
                                                                                                               18   “plac[es] protected communications in issue.”).
                                                                                                               19           C.    FF Has Not Irrevocably Waived the Attorney-Client Privilege
                                                                                                               20           Consistent with the Ninth Circuit’s prohibition on imposing any privilege
                                                                                                               21   waiver without first specifically defining “the contours of the waiver” to “let[] [the
                                                                                                               22   holder of the privilege] know how much of the privilege he must waive in order to
                                                                                                               23   proceed with his claim,” and to prevent the privilege holder from being “unfairly
                                                                                                               24   surprised in the future” should he elect to proceed with his claim, Bittaker, 331 F.3d
                                                                                                               25   at 720-721, this Court expressly recognized during the April 26 hearing that
                                                                                                               26   (i) FF could avoid a wholesale waiver by dismissing the Job Performance
                                                                                                               27   Counterclaims; and that (ii) following such dismissal, FF could return to the Court to
                                                                                                               28   seek a corresponding modification of the April 26 Order:
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                                                                                                                1            Court:             And certain of your counterclaims, like the fifth and
                                                                                                                2                               sixth counterclaims you are essentially saying that
                                                                                                                                                Mr. Liu did nothing right while he was there . . . .
                                                                                                                3                               But if you got rid of perhaps your fifth and sixth
                                                                                                                4                               [counterclaims], and I would have to look back at
                                                                                                                                                some of the later counterclaims, maybe the waiver
                                                                                                                5                               would be more limited, but right now it seems to
                                                                                                                6                               me to be pretty broad.

                                                                                                                7                                             *      *       *     *
                                                                                                                             Mr. Kessel:        If we stipulate or get a ruling from Judge Wilson that
                                                                                                                8                               limits counterclaims five and six the way that we
                                                                                                                9                               have delineated both in the [SACC] and in the
                                                                                                                                                opposition, can we also come back to you in that
                                                                                                               10                               sense to further define what’s required to be
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                                                                                                               11                               produced on our end?

                                                                                                               12            Court:             You can, but I don’t feel that I have much else I can
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                                                                                                                                                do other than set some dates before Judge Wilson
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                                                                                                               13
                                                                                                                                                rules.
                                                                                                               14                                              *      *      *      *
                                                                                                               15            Court:             Plaintiff is right that right not this is all advisory,
                                                                                                                                                because I am finding that all of the privilege is
                                                                                                               16
                                                                                                                                                waived based on the fifth and sixth counter-
                                                                                                               17                               claims . . . . So if you come back to me in five days
                                                                                                                                                because you guys have stipulated or you have
                                                                                                               18
                                                                                                                                                dismissed your counterclaims or they have been
                                                                                                               19                               amended or whatever and I take up this issue.14
                                                                                                               20            In clear violation of governing Ninth Circuit law and the Court’s statements,
                                                                                                               21   Liu now argues that FF has irrevocably and entirely waived the privilege due to its
                                                                                                               22   supposed “strategy of attacking [Liu] using selective disclosures of privileged and
                                                                                                               23   confidential materials, while denying [Liu] access to any privileged and confidential
                                                                                                               24   materials that support his case.” (Supp. Memo. at pp. 6:14-17). This argument
                                                                                                               25   cannot with scrutiny and is required to be rejected for at least three, independently
                                                                                                               26   dispositive reasons:
                                                                                                               27
                                                                                                                    14
                                                                                                               28        See attached Exhibit B [Tr. of 4/26/21 Hearing] at pp. 6:6-19, 26:9-19, 33:2-14.
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                                                                                                                1           First, contrary to Liu’s unsubstantiated argument that FF has “selectively
                                                                                                                2   leaked information” about Sidley’s alleged review of the Employment Agreement,
                                                                                                                3   (id. at p. 6:18-19), the demonstrated truth is that (a) FF has not pleaded any facts in
                                                                                                                4   this action regarding Sidley’s role vis-à-vis the Employment Agreement, as evident
                                                                                                                5   on the face of the SACC and the MSJ; (b) it is Liu, not FF, that has placed supposed
                                                                                                                6   communications between FF concerning Sidley at issue; and therefore (c) the nature
                                                                                                                7   and scope of FF’s privileged communications with Sidley are legally and factually
                                                                                                                8   irrelevant to Liu’s ethical violations and the subsequent voidability of the
                                                                                                                9   Employment Agreement. See discussion, authorities and evidence cited, supra, at
                                                                                                               10   Section II.B.
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                                                                                                               11           Second, in stark contrast to Liu’s postulation that his “ability to respond to
                                                                                                               12   [FF’s] [summary judgment] motion . . . has been unduly prejudiced by [FF’s]
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                                                                                                               13   [alleged] gamesmanship regarding privilege[,]” Liu tellingly is unable to identify any
                                                                                                               14   privileged information actually implicated by that motion. (Supp. Memo. at p. 7:7-
                                                                                                               15   9). Nor can he given that the MSJ actually and exclusively seeks judgment on Liu’s
                                                                                                               16   remaining claims on the following grounds having nothing to do with any privileged
                                                                                                               17   information allegedly placed in issue by FF—namely that:
                                                                                                               18           1.      Judgment is required to be entered on Liu’s claim for breach of the
                                                                                                               19                   Employment Agreement because Liu improperly procured that contract
                                                                                                               20                   in violation of his ethical and fiduciary obligations to FF, such that he
                                                                                                               21                   cannot legally enforce that voidable contract over FF’s objection;
                                                                                                               22           2.      Judgment is required to be entered on Liu’s claim for wrongful
                                                                                                               23                   termination because its prosecution and defense necessitate the public
                                                                                                               24                   disclosure of privileged communications and information concerning
                                                                                                               25                   the Alleged Compliance and Legal Issues that Liu supposedly reported
                                                                                                               26                   to FF management prior to his discharge; and
                                                                                                               27
                                                                                                               28
                                                                                                                    115537485                                   -12-
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                                                                                                                1            3.      Judgment is required to be entered on Liu’s declaratory judgment claim
                                                                                                                2                    because it is entirely dependent on his foregoing baseless causes of
                                                                                                                3                    action.15
                                                                                                                4            Importantly, the MSJ plainly does not seek judgment on Liu’s wrongful
                                                                                                                5   termination claim based upon FF’s No Retaliation Defense. As such, there is no
                                                                                                                6   credible basis for arguing that FF has submitted evidence of Liu’s Enumerated
                                                                                                                7   Failures, or any other potentially privileged matter, in support of that motion.
                                                                                                                8            Finally, Liu’s only proffered authority in support of his irrevocable waiver
                                                                                                                9   argument—Apple Inc. v. Samsung Electronics Co. Ltd—serves only to highlight and
                                                                                                               10   confirm the impropriety of any such waiver, here. That is because in Apple Inc., the
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                                                                                                               11   district court found Samsung could not “avoid waiver by retroactively withdrawing
                                                                                                               12   its arguments” after it had already:
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                                                                                                                             • “raised . . . issues bearing upon the contents of [its] communications [with]
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                                                                                                               13
                                                                                                               14                 its attorneys” in support of its effort to avoid discovery sanctions, including
                                                                                                               15                 “whether any of the numerous protective order violations were
                                                                                                               16                 intentional[,] whether any unauthorized recipient of the confidential
                                                                                                               17                 information used the information[,] [as well as] [outside counsel’s] alleged
                                                                                                               18                 compliance with the protective order”;
                                                                                                               19            • advanced these arguments” by, inter alia, submitting “the [privileged]
                                                                                                               20                 documents themselves . . . unredacted to the court”; thereby
                                                                                                               21            • “put[ting] the contents of the[] documents at issue, and [] succeed[ing] in
                                                                                                               22                 avoiding greater sanctions” as a result of doing so.
                                                                                                               23   See No. 11-CV-01846-LHK, 2015 U.S. Dist. LEXIS 80954, at *71-73, *84-86 (N.D.
                                                                                                               24   Cal. June 19, 2015).
                                                                                                               25
                                                                                                               26
                                                                                                               27
                                                                                                                    15
                                                                                                               28        See Dkt. No. 131-1 [MSJ] at pp. 1:1-3:28, 11:15-25:12.
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                                                                                                                1           In marked contrast, FF has not filed or obtained relief by submitting any
                                                                                                                2   privileged materials to the Court. Nor, as evident on its face, has FF used any
                                                                                                                3   privileged information to support its pending MSJ.
                                                                                                                4           Accordingly, consistent with the approach mandated by the Ninth Circuit in
                                                                                                                5   Bittaker and followed with respect to the Job Performance Counterclaims, FF
                                                                                                                6   respectfully requests that the Court (1) define the scope of FF’s waiver in light of
                                                                                                                7   FF’s dismissal of the Job Performance Counterclaims and its proposed dismissal and
                                                                                                                8   amendment of the Affirmative Defenses identified herein and set forth in Exhibit A;
                                                                                                                9   and correspondingly (2) modify the April 26 Order to clarify that, if FF so dismisses
                                                                                                               10   and amends its Affirmative Defenses as reflected in Exhibit A hereto, FF will have
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                                                                                                               11   only waived the privilege as to, and only will be required to produce privileged
                                                                                                               12   information limited to, Liu’s Enumerated Failures.
                                                                       I R V I N E , CA 9 2 6 1 4 - 2 5 4 5
                                           5 PARK PLAZA
                                                          SUITE 1400




                                                                                                               13   III.    CONCLUSION
                                                                                                               14           For each of the foregoing reasons, FF respectfully requests that the Court
                                                                                                               15   modify its April 26 Order as described in this Supplemental Brief, and as reflected in
                                                                                                               16   FF’s concurrently filed [Proposed] Order.
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                                                                                                               18   Dated: April 28, 2021                       Respectfully submitted,
                                                                                                               19                                               TROUTMAN PEPPER HAMILTON
                                                                                                                                                                SANDERS LLP
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                                                                                                               21                                               By: /s/ Kevin A. Crisp
                                                                                                               22                                                   Kevin A. Crisp
                                                                                                                                                                    Attorneys for Defendant
                                                                                                               23                                                   SMART KING LTD. and Defendant
                                                                                                                                                                    and Counterclaimant
                                                                                                               24                                                   FARADAY&FUTURE INC.
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                                                                                                                     SUPPLEMENTAL BRIEF IN SUPPORT OF MODIFYING APRIL 26, 2021 ORDER RE: PRIVILEGE ISSUES
